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 Attorney for Defendant
 The Art Institute of Portland, LLC


                          IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

                                      PORTLAND DIVISION


 SPF BREWERY BLOCKS, LLC, a                        Civil No. 18-1749
 Delaware limited liability company,
                                                   DECLARATION OF ANTHONY TODARO
                 Plaintiff,                        IN SUPPORT OF NOTICE OF REMOVAL

           v.

 THE ART INSTITUTE OF PORTLAND,
 LLC, an Arizona limited liability company,

                 Defendant.


       I, Anthony Todaro, declare as follows:

       1.       I am an attorney admitted to appear before this Court, and am a partner with the

law firm DLA Piper LLP (US), attorneys for Defendant The Art Institute of Portland, LLC. I have

personal knowledge of the facts set forth herein and, if called as a witness, could and would testify

thereto.

       2.       The purpose of this declaration is to place before the Court the documents filed in

SPF Brewery Blocks, LLC v. The Art Institute of Portland, LLC, 18LT13703, which was pending

in Oregon Circuit Court for Multnomah County (the “State Court Action”).




1 – TODARO DECLARATION
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       3.      As required by 28 U.S.C. § 1446(a), I have attached to this declaration as Exhibit

A-1 true and correct copies of all pleadings and other documents that were previously filed in the

State Court Action as of the date of this declaration.

       I declare under penalty of perjury that the foregoing is true and correct.



 Dated: October 1, 2018.                             By: s/ Anthony Todaro
                                                         Anthony Todaro
                                                         DLA PIPER LLP (US)
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                                                         Seattle, WA 98104-7044
                                                         Telephone: 206.839.4800
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                                                         Attorney for Defendant
                                                         The Art Institute of Portland, LLC




2 – TODARO DECLARATION
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